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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Demetrius Johnson
                                   Plaintiff,
v.                                                      Case No.: 1:20−cv−04156
                                                        Honorable Sara L. Ellis
Reynaldo Guevara, et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, August 2, 2024:


        MINUTE entry before the Honorable Sara L. Ellis:Motion [305] is resolved as
stated on the record on 2/29/2024 [307]. Mailed notice(rj, )




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